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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division



  UNITED STATES OF AMERICA,
                                                               Case No. 1:20-CR-74
                               Plaintiff,
                                                               The Honorable Anthony J. Trenga
         v.
                                                               Trial: July 26, 2021
  KEVIN N. SMITH,

                               Defendant.

        MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO
 PRECLUDE IMPROPER OPINION TESTIMONY BY GOVERNMENT WITNESSES

       Mr. Kevin Smith, by and through counsel, pursuant to Rules 602, 701, and 403 of the

Federal Rules of Evidence, respectfully moves this Court to preclude government witnesses,

including but not limited to Patricia Simpson (also known as Patricia Overway), Michael C.

Myers, and Henry Gifford Eldredge, from testifying to what Mr. Smith “understood” or “knew,”

as opposed to what he was told or what he said, given that such testimony about Mr. Smith’s

state of mind would be speculative and improper opinion testimony, and it would tend to cause

unfair prejudice and mislead the jury.

       At issue in this case is whether Mr. Smith actually understood the Woman-Owned Small

Business (“WOSB”) regulations and subsequently knowingly violated them, or whether he was

merely one of many unknowing participants through whom Mr. Myers and Anne B. Robins

effectuated their conspiracy (of which even the Chief Operating Officer, Mr. Eldredge, is not

alleged to have been a part). Having a government lay witness offer an opinion as to what Mr.

Smith in fact understood or knew about SDB’s WOSB status is prohibited by the Federal Rules

of Evidence.
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                                        BACKGROUND

       Discovery received to date suggests that Ms. Simpson, Mr. Myers, and Mr. Eldredge

might be inclined to offer improper, speculative lay opinion testimony about what Mr. Smith

actually understood or knew at the time of the alleged events. For example, in records

purportedly kept by Ms. Simpson, she noted that Mr. Smith “understands” certain aspects of the

WOSB set aside, as set forth in the Federal Acquisition Regulations. Furthermore, in an

interview with law enforcement, upon being shown documents she had never seen before,

including communications between Mr. Myers and Ms. Robins that Mr. Smith was not a part of,

some of which took place prior to him being hired at SDB, Ms. Simpson told law enforcement

that Mr. Smith “knew” that SDB was not a WOSB. With respect to Mr. Myers and Mr.

Eldredge, both of the statements of offense they signed as part of their plea agreements contain

statements about what Mr. Smith purportedly “knew.” See United States v. Michael C. Myers,

1:21-cr-31 (E.D. Va., April 20, 2021), Dkt. 14 (statement of offense sworn to by Mr. Myers);

United States v. Henry Gifford Eldredge, 1:21-cr-30 (E.D. Va., April 26, 2021), Dkt. 14

(statement of offense sworn to by Mr. Eldredge).

                                         ARGUMENT

       Testimony by government witnesses about what Mr. Smith “understood” or “knew” is

precluded by Rules 602, 701, and 403.

       First, such testimony is prohibited by Rule 602 because it is outside Ms. Simpson’s, Mr.

Myers’s, or Mr. Eldredge’s personal knowledge. Whether Mr. Smith in fact understood the

WOSB requirements or knew that he should not self-certify SDB as a WOSB because it did not

meet such requirements is beyond any government witness’s personal knowledge. Such

testimony is therefore based on speculation and inadmissible. Fed. R. Evid. 602; Est. of Gee ex




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rel. Beeman v. Bloomington Hosp. & Health Care Sys., Inc., No. 1:06-CV-00094-TWP, 2012

WL 729269, at *2 (S.D. Ind. Mar. 6, 2012) (granting defendants’ motion in limine to preclude

expert testimony “about what Defendants ‘knew’” because it was “inescapably based on

speculation.”).

       Second, courts have routinely excluded witness testimony about another person’s intent

under Rule 701 because it would not be factual testimony based on the those witnesses’

perceptions nor would it be helpful to clearly understanding their testimony. In re McCauley,

105 B.R. 315, 320 (E.D. Va. 1989) (holding that testimony by witnesses as to what a “state judge

intended” with respect to a particular obligation would be “inadmissible incompetent speculation

if based on the witnesses’ surmise as to the judge’s intentions.”); United States v. Ebron, 683

F.3d 105, 137 (5th Cir. 2012) (holding that witness’s testimony regarding “the intent of

[defendant]’s gesture was not helpful to a clear understanding of his testimony.”). In a white-

collar criminal case where the defendant raised a good-faith defense—as Mr. Smith will at

trial—the Seventh Circuit concluded that the district court properly excluded testimony about the

defendant’s knowledge, or lack thereof, about the requirements of filing returns: the Seventh

Circuit affirmed that “opinion testimony on a party’s knowledge of the law ‘in most instances . . .

will not meet the requirements of Rule 701.’” United States v. Hauert, 40 F.3d 197, 201 (7th

Cir. 1994) (quoting United States v. Rea, 958 F.2d 1206, 1216 (2d Cir.1992)). The Seventh

Circuit reasoned that “by the nature of a tax protestor case, defendant’s beliefs about the

propriety of his filing returns and paying taxes, which are closely related to defendant's

knowledge about tax laws and defendant’s state of mind in protesting his taxpayer status, are

ordinarily not a proper subject for lay witness opinion testimony absent careful groundwork and

special circumstances.” Id. at 202; Rea, 958 F.2d at 1219 (holding that it was an abuse of




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discretion to allow a witness to testify to what a defendant in a tax evasion case “had to” have

known, because it “was not ‘helpful’ within the meaning of Rule 701” and “did no more than

instruct the jury as to what result it should reach on the issue of knowledge.”); United States v.

Ness, 665 F.2d 248, 249-50 (8th Cir.1981) (precluding four bank employees from offering

opinions on whether coworker intended to defraud the bank); United States v. Cox, 633 F.2d 871,

875-76 (9th Cir.1980), cert. denied, 454 U.S. 844 (1981) (holding that it was error to allow

witness to offer impressions regarding what the accused meant by accused's statements and

contemporaneous conduct).

        Likewise, Ms. Simpson’s, Mr. Myers’s, and Mr. Eldredge’s testimony regarding Mr.

Smith’s understanding and knowledge would not be helpful to their testimony regarding what

they discussed with Mr. Smith, including what Ms. Simpson discussed with Mr. Smith when

providing him advice about how to grow SDB’s business, or when Mr. Myers and Mr. Eldredge

discussed with Mr. Smith how to increase opportunities for SDB. Such testimony is therefore

inadmissible under Rule 701. Fed. R. Evid. 701.

        Finally, such testimony is prohibited by Rule 403 because any probative value is

substantially outweighed by a danger of unfair prejudice and misleading the jury.1 While the

jury can infer what Mr. Smith understood or knew based on his conversations and

communications with others, it would be unfairly prejudicial and would tend to mislead the jury




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  While the defense understands that Ms. Simpson, Mr. Myers, and Mr. Eldredge will be offered
by the government as lay witnesses, Rule 704 provides that “[i]n a criminal case, an expert
witness must not state an opinion about whether the defendant did or did not have a mental state .
. . that constitutes an element of the crime charged or of a defense. Those matters are for the trier
of fact alone.” Fed. R. Evid. 704(b). For similar reasons, it would cause unfair prejudice and
tend to mislead the jury if a lay witness is permitted to offer an opinion as to whether Mr. Smith
understood the WOSB requirements and knew that SDB could not self-certify as a WOSB.

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for Ms. Simpson, Mr. Myers, or Mr. Eldredge to offer their opinions as to what Mr. Smith

understood or knew.

                                        CONCLUSION

       For all the reasons discussed above, and any other reason appearing to this Court, Mr.

Smith respectfully requests that the Court issue an order precluding government witnesses,

including Patricia Simpson (also known as Patricia Overway), Michael Myers, and Henry

Gifford Eldredge, from testifying to what Mr. Smith knew or understood.

                                             Respectfully submitted,

                                                         /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of July 2021, the foregoing was served electronically

on the counsel of record through the U.S. District Court for the Eastern District of Virginia

Electronic Document Filing System (ECF) and the document is available on the ECF system.

                                             /s/ Jonathan Jeffress
                                             Jonathan Jeffress




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